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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


J.G.G. et al.,                                  Case No. 1:25-cv-00766-JEB

                 Plaintiffs;

LIYANARA SANCHEZ, as next friend
on behalf of FRENGEL REYES MOTA,                [PROPOSED] ORDER DENYING
et al.,                                         PLAINTIFFS’ AND
                                                PETITIONERS–PLAINTIFFS’
                 Petitioners–Plaintiffs,        MOTION FOR PRELIMINARY
                                                INJUNCTION
         v.

DONALD J. TRUMP, in his official
capacity as President of the United
States, et al.,

                 Respondents–Defendants.


      IT IS HEREBY ORDERED that Plaintiffs’ and Petitioners–Plaintiffs’ motion

for a preliminary injunction [ECF 102] is DENIED.

Dated:
                                               Hon. James E. Boasberg
                                               Chief Judge, United States District
                                               Court for the District of Columbia
